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                                                                                  E-FILED
                                              Wednesday, 16 September, 2020 01:22:39 PM
                                                             Clerk, U.S. District Court, ILCD

                 UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF ILLINOIS
                       URBANA DIVISION

UNITED STATES OF AMERICA,

           Plaintiff,
                                                   18-20025
      v.                                           03-20104

WILLIAM GOODWILL,

           Defendant.

               OPPOSITION TO CONTINUANCE OF
                SENTENCING AND REVOCATION

     Defendant William Goodwill, through his attorney Johanes

Maliza of the Federal Public Defender’s Office for the Central

District of Illinois, respectfully opposes the government’s motion to

continue the revocation and sentencing hearings, currently set for

September 25, 2020. He requests that the sentencing hearings go

forth, as scheduled.

     1.    Defendant is currently detained in the Macon County

Jail. He has been there since 2018, and is anxious to get to the

Bureau of Prisons. The BOP has considerably more inmate

programming and resources. Mr. Goodwill is anxious to begin

evidence based recidivism reduction classes, to which Congress
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attached good time credits in the First Step Act. A delay in his

hearings is unnecessary.

     2.   The government now requests a continuance of the

September 25, 2020 hearing date. The government cites two

reasons. First, because of scheduling in two unrelated cases:

United States v. Pennington, No. 18-cr-20021, and United States v.

Stapleton, No. 18-cr-20028. Second, because of concerns about a

new PSR and the need to incorporate Ruth into that analysis.

     3.   While defense counsel understands that attorney

scheduling is a real concern, Mr. Goodwill cannot consent to the

continuance of either the sentencing or the revocation.

     4.   At one point, these cases were set for resolution on June

1, 2020 – already over 24 months since Mr. Goodwill’s initial

appearance in May 2018.

     5.   The sentencing and revocation were continued so that

the Seventh Circuit could decide United States v. Ruth, 966 F.3d

642 (7th Cir. 2020). That decision, it was hoped, would give this

Court guidance on whether Mr. Goodwill’s 720 ILCS 570/401(c)(2)

conviction in Macon County Case No. 00-CF-1172 is a “controlled

substance offense” under U.S.S.G. § 4B1.2(b).


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     6.    On July 20, 2020, the Seventh Circuit decided Ruth.

While both parties take issue with parts of the decision, it mostly

settles the career offender question for this Court’s purposes. This

Court set the September 25 hearing date once Ruth was decided.

     7.    Mr. Goodwill will present this Court with arguments why

Ruth still means he wins, but there is a good chance the Court will

consider its hands tied, no matter how those arguments are

resolved. And the arguments will be presented in writing before the

hearing, in any event. Practically speaking, to the extent either

party seeks to distinguish or avoid the implications of Ruth, it will

be mostly for preservation purposes.

     8.    The hotly contested matters in this Court, therefore, will

focus (like all sentencings) on § 3553(a) factors (and § 3583(e) for

the revocation). Those have been mostly known to the parties for

months.

     9.    Mr. Goodwill opposes this motion for several reasons.

First, Mr. Goodwill’s case is already very old. Even accounting for

the time necessary to litigate the motion to suppress, it has been

eight months since Mr. Goodwill pled guilty in this case. He has a




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right to be sentenced without unnecessary delay under Fed. R.

Crim. P. 32.

     10. Second, neither Pennington nor Stapleton will actually be

in trial as of September 25, 2020. The former begins in October,

and the latter on September 28.

     11. Third, the PSR in this case is actually of less value than

normal. This Court is also already familiar with much of the

circumstances of this case, given the motion to suppress and the

evidentiary hearing. Further, the Court and parties have long been

in possession of Mr. Goodwill’s old PSR, from the 2003 case – so his

history and background until 2003 are already before the Court.

The only updates, then, will be the period between Mr. Goodwill’s

2017 release, and his 2018 arrest. The initial PSR included those

topics, and the parties are more than capable of informing this

Court about those 15 months.

     12. So there is really nothing more for the revised PSR to do

besides making legal representations, based on the probation

office’s interpretation of Ruth. But this Court will have to resolve

contested legal matters based on the parties’ arguments and

caselaw, not based on the probation office’s understanding.


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     13. Mr. Goodwill will file a formal request that the hearings

be conducted by video, both to save time and protect everyone from

COVID-19. Even the longest sentencing/revocation hearings take

under two hours. Again, defense counsel understands that trial

preparation and other attorney work is a real concern. But a

couple of hours for a straightforward sentencing hearing, days

before any trial, is not a good reason to prolong Mr. Goodwill’s wait

for his sentence. Such a delay would be unreasonable.

     14. COVID-19 has created a backlog of cases for all court

participants – courts, defense attorneys, and government attorneys.

Moving a ready-to-decide hearing from September to October will

not alleviate that backlog. It will simply apply pressure on a

different part of the calendar – like squeezing a balloon. As an

example, defense counsel has at least two in-person sentencing

hearings the week of October 16, and is out of the office between

October 23 and October 30, 2020. He has two appellate briefs to

write in October, and one can anticipate new criminal cases or

revocations coming in, as well. That leaves out all of the other

ongoing “day to day” proceedings.




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     15. There is no clear point in anybody’s calendar for the

foreseeable future. Mr. Goodwill has a court date and a case that is

ready to go now. He should not have to wait until another point

when everyone will be just as busy.

     WHEREFORE Defendant respectfully requests the entry of an

Order denying the government’s motions to continue the sentencing

and revocation.

                             Respectfully submitted,

September 16, 2020           WILLIAM M. GOODWILL,
                             Defendant

                             THOMAS PATTON, Federal Public
                             Defender

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                    CERTIFICATE OF SERVICE

     I hereby certify that on September 16, 2020, I electronically filed

the foregoing with the Clerk of the Court using the CM/ECF system.

Notice of this filing will be sent by operation of the Court’s electronic

filing system to all parties indicated on the electronic filing receipt.

Parties may access this filing through the Court’s system.

                                  s/ Johanes C. Maliza




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